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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : Case No.: 23-CR-277 (CKK)
v. 18 U.S.C. § 111 (a)(1)
CHRISTOPHER BRIAN ROE, 7
Defendant.

STATEMENT OF OFFENSE

Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,
the United States Attorney for the District of Columbia, and the defendant, Christopher Brian Roe,
with the concurrence of the defendant’s attorney, agree and stipulate to the below factual basis for
the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that
the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol
include permanent and temporary security barriers and posts manned by USCP. Only authorized
people with appropriate identification are allowed access inside the Capitol.

2. On January 6, 2021, the exterior plaza of the Capitol was closed to members of the
public. The grounds around the Capitol were posted and cordoned off, and the entire area as well
as the Capitol building itself were restricted as that term is used in Title 18, United States Code,
Section 1752 due to the fact that the Vice President and the immediate family of the Vice President,

among others, would be visiting the Capitol complex that day.

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3, On January 6, 2021, a joint session of the United States Congress convened at the
Capitol. During the joint session, elected members of the United States House of Representatives
and the United States Senate were meeting in separate chambers of the Capitol to certify the vote
count of the Electoral College of the 2020 Presidential Election, which had taken place on Tuesday,
November 3, 2020. The joint session began at approximately 1:00 PM. Shortly thereafter, by
approximately 1:30 PM, the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint session,
and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.
Temporary and permanent barricades, as noted above, were in place around the exterior of the
Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol
and the proceedings underway inside. By shortly after 1:00 PM, the situation at the Capitol had
become a civil disorder as that term is used in Title 18, United States Code, Section 231, and
throughout the rest of the afternoon the civil disorder obstructed the USCP’s ability to perform
their federally protected function to protect the U.S. Capitol building and its occupants.

5 At approximately 2:00 PM, certain individuals in the crowd forced their way
through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd
advanced to the exterior facade of the building. Officers with the D.C. Metropolitan Police
Department were called to assist officers of the USCP who were then engaged in the performance
of their official duties. The crowd was not lawfully authorized to enter or remain in the building
and, prior to entering the building, no members of the crowd submitted to security screenings or

weapons checks as required by USCP officers or other authorized security officials.

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6. At such time, the certification proceedings were still underway, and the exterior
doors and windows of the Capitol were locked or otherwise secured. Members of the USCP
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows
and by assaulting members of law enforcement, as others in the crowd encouraged and assisted
those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more
than $2.9 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 PM, members of the House of
Representatives and of the Senate, including the President of the Senate, Vice President Pence,
were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United
States Congress, including the joint session, were effectively suspended until shortly after 8:00
PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to
the Capitol—including the danger posed by individuals who had entered the Capito! without any
security screening or weapons check-—Congressional proceedings could not resume until after
every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that
the building was secured. The proceedings resumed at approximately 8:00 PM after the building
had been secured. Vice President Pence remained in the Capitol from the time he was evacuated
from the Senate Chamber until the session resumed.

The Defendant’s Participation in the January 6, 2021, Capitol Riot

8. The defendant, Christopher Brian Roe, lives in Raytown, Missouri. On January 6,

2021, Roe attended the “Stop the Steal” rally, which occurred in front of the White House and on

the National Mall. At the rally, the defendant had a pitchfork with pointed-metal tips wedged into

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the ground and wore a backpack with a roll of duct tape attached. The defendant then proceeded
to the United States Capitol and arrived at the West Plaza at approximately 1:25 p.m.

9. Upon his arrival, the defendant held the pitchfork in his right hand as he approached
a line of police officers guarding the Capitol. After reaching the line, the defendant attempted to
remove one of the bicycle racks located between the officers and the crowd of rioters. When the
officers resisted, the defendant fell backwards and dropped the pitchfork. At approximately 1:26
p.m., after the defendant picked the pitchfork back up from the ground, another rioter physically
engaged with USCP Officer R.E. The defendant then moved towards the pair and pushed against
USCP Officer R.E. several times with his left arm while holding the pitchfork in his right hand.
Other officers deployed chemical irritant against the defendant and the rioter, which caused the
defendant to retreat into the crowd.

10. At approximately 2:38 p.m., the defendant entered the Capitol Building from the
Upper West Terrace. Once inside, the defendant continued through the Rotunda and into a hallway
located outside of the chamber of the House of Representatives.

11, At approximately 2:55 p.m., officers with the Metropolitan Police Department
(“MPD”) attempted to remove the defendant and other rioters from the House wing of the Capitol.
To accomplish this objective, MPD Officer R.D. pushed the defendant towards an exit with his
baton. The defendant reacted by grabbing onto a nearby magnetometer to prevent the officer from
moving him forward. The defendant then turned towards the officer and said, “you are protecting
traitors and treasonists. They committed treason. And you shot one of us. That’s bullshit. Put your
baton down and f***ing join us.”

12. A minute later, an altercation broke out between officers and some of the rioters. In

response, the defendant moved towards Officer R.D., wrapped his arm around the officer’s baton,

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and pushed the officer several feet backwards. Officers eventually ejected the defendant from this
area at approximately 2:57 p.m. Security footage from this time frame shows a bag of zip ties
inside the defendant’s backpack.

13. From this exit, the defendant walked around the east front of the Capitol and
reentered the building through the Columbus Doors at 3:21 p.m. Once inside, the defendant turned
back towards the crowd behind him and waved other rioters into the building. The defendant
briefly entered the Rotunda before officers removed him back into the lobby before the Columbus
Doors. While in this lobby, at approximately 3:25 p.m., the defendant turned his left shoulder
towards a USCP officer and pushed into the officer several times. At approximately 3:30 p.m., law
enforcement pushed the defendant out of the Capitol Building.

14. Afterwards, the defendant moved around to the north side of the Capitol. At this
location, the defendant obtained a bicycle rack and slammed it several times against a set of
wooden doors leading into the Capitol Building.

Elements of the Offense

15. Count One: The parties agree that 18 U.S.C. § 111(a)(1) requires the following
elements:

a. First, the defendant assaulted, resisted, opposed, impeded, intimidated, or interfered
with Officer R.E., an officer from the United States Capitol Police.

b. Second, the defendant did such acts forcibly.

c. Third, the defendant did such acts voluntarily and intentionally.

d. Fourth, Officer R.E. was an officer or employee of the United States who was then

engaged in the performance of his official duties.

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e, Fifth, the defendant made physical contact with Officer R.E. or acted with the intent
to commit along felony. For the purposes of this element, “another felony” refers
to the offense charged in Count Two, in violation of 18 U.S.C. § 231(a)(3).

16. Count Three: The parties agree that 18 U.S.C. § 111(a)(1) requires the following
elements:

a. First, the defendant assaulted, resisted, opposed, impeded, intimidated, or interfered
with Officer R.D., an officer from the Metropolitan Police Department.

b. Second, the defendant did such acts forcibly.

c. Third, the defendant did such acts voluntarily and intentionally.

d. Fourth, Officer R.D. was assisting officers of the United States who were then
engaged in the performance of their official duties.

e. Fifth, the defendant made physical contact with Officer R.D. or acted with the intent
to commit along felony. For the purposes of this element, “another felony” refers
to the offense charged in Count Four, in violation of 18 U.S.C. § 231(a)(3).

17. Count Five: The parties agree that 18 U.S.C. § 111(a)(1) requires the following
elements:

a. First, the defendant assaulted, resisted, opposed, impeded, intimidated, or interfered
with an officer from the United States Capitol Police.

b. Second, the defendant did such acts forcibly.

c. Third, the defendant did such acts voluntarily and intentionally.

d. Fourth, the person assaulted, resisted, opposed, impeded, intimidated, or interfered
with was an officer or employee of the United States who was then engaged in the

performance of his official duties.

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e, Fifth, the defendant made physical contact with that officer or acted with the intent
to commit along felony. For the purposes of this element, “another felony” refers

to the offense charged in Count Six, in violation of 18 U.S.C. § 231(a)@).

Defendant’s Acknowledgments
18. The defendant knowingly and voluntarily admits to all the elements as set forth
above. Specifically, the defendant admits that, as to each Count, he assaulted the listed law

enforcement officer, the assaults each involved physical contact, and he acted with the intent to

commit another felony.

Respectfully submitted,

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DEFENDANT’S ACKNOWLEDGMENT

l, Christopher Brian Roe, have read this Statement of the Offense and have discussed it
with my attorney. I fully understand this Statement of the Offense. I agree and acknowledge by
my signature that this Statement of the Offense is true and accurate. I do this voluntarily and of
my own free will. No threats have been made to me nor am | under the influence of anything that
could impede my ability to understand this Statement of the Offense fully.

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Christopher Brian Roe
Defendant

ATTORNEY’S ACKNOWLEDGMENT

[have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client's desire to adopt this Statement of the Offense as true and accurate.

Date: 10 24-93

Stephen C. Moss
Attomey for Defendant

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